
PER CURIAM
|7 The Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent failed to properly supervise a non-lawyer assistant and mishandled his client trust account. Prior to the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline, in which the parties stipulated that respondent has violated Rules 1.15(a), 5.3(b), and 8.4(a) of the Rules of Professional Conduct, and that the misconduct was negligent. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Romualdo Gonzalez, Louisiana Bar Roll number 6118, be and he hereby is publicly reprimanded.
IT IS FURTHER ORDERED that respondent shall enroll in and attend the Louisiana State Bar Association’s Ethics School and Trust Accounting School.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
Hughes, J., would reject the consent discipline.
